Case 2:04-cr-20311-.]DB Document 134 Filed 04/27/05 Page 1 of 3 Page|D 211

::, ,
IN THE UNITED STATES DISTRICT COURT nw
E`OR THE WES'I`ERN DISTRICT OF TENNESSEE

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wESTERN DIVISION 95 ~ 27 HH iv 14

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CLEHK,LLS Di 51
W.D. OF TN, Ml:wlF‘H|S

UNITED STATES OF AMERICA,

Plaintiff,

VENCEL MARTIN, and

)
)
)
)
vS. ) Criminal NO. 04~20311-Ml
)
)
BENITA ROGERS, )
)
)

Defendants.

 

ORDER GRANTING MOTION TO SEVER

 

Based upon the motion of the United States to Sever the cases
cf Vencel Martin and Benita Rogers, and for good cause ehown; it is
hereby ORDERED that the cases are Severed as to Vencel Martin and

Benita Rogere.

Em;ered this 319 day @f AQ , 2005.

M 111 011

Jon hipps MCCalla
Uni ed States District Judqe

Approved:

TERRELL I_.. HARRIS
United States Attorney

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By: jy:n*v/ g?-f;;%h»£¢»`_

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This dochent entered on the docket s et in compliance
with R._lle 55 and/or 321'b) FRCrP on ll B__O_S__'

 

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Honorable J on McCalla
US DISTRICT COURT

